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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA



   UNITED STATES OF AMERICA

                      v.                                  No. 22-cr-15 (APM)

   EDWARD VALLEJO,
                                 Defendant.


REPLY IN SUPPORT OF MOTION IN LIMINE TO EXCLUDE EXPERT TESTIMONY

       Defendant Edward Vallejo respectfully submits this reply in support of his motion to

exclude the proposed expert testimony of Dr. Sam Jackson, Ph.D., and states as follows.

                                          ARGUMENT

       The government defends its proposed expert on “antigovernment extremism” and the Oath

Keepers by pointing to cases involving experts on criminal gangs with specialized code words and

insignia. Opp. 3–4. But unlike specialized code words and insignia, the Oath Keeper statements

about which the government proposes to have Dr. Jackson opine do not involve hidden meanings

beyond the ken of a lay jury. Indeed, they were all, to a letter, public statements presented to the

world for public consumption. See S. Jackson, The Oath Keepers: Patriotism, Dissent, and the Edge

of Violence (2018), available at https://surface.syr.edu/etd/896 (“Dissertation”) at 77 (“The data

used in this project is all publicly available: none of it requires an Oath Keepers membership or

special permission to view…. [M]y data exclusively consist of material posted by the Oath Keepers

or by Stewart Rhodes, the group’s founder and president.”); Gov’t Expert Notice (“Dr. Jackson will

base his opinions on his research into textual, audio, and video material posted by the Oath Keepers

online….”). This is a crucial difference: the jury would not be helped by hearing an opinion from

an expert on the meaning of ordinary English words written for public consumption by laymen.
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       The government also argues that certain aspects of “the Oath Keepers ideology”—such that

the organization is “at its core an antigovernment organization”—is “counterintuitive.” Opp. 4. But

it is for the jury to decide whether the Oath Keepers are an “antigovernment organization” in any

relevant sense; and since any opinion by Dr. Jackson on “the Oath Keepers ideology” would be

based solely on reading Oath Keeper public statements without any “specialized” access,

Dissertation at 77, his opinions would offer nothing the jury could not determine for itself upon

reviewing any relevant statements.

       Citing United States v. Sandoval, 6 F.4th 63, 87 (1st Cir. 2021), the government argues that

courts permit experts to present opinions based on an “amalgamation” of testimonial statements,

and that the Court should therefore permit Dr. Jackson’s opinions from his study of Oath Keeper

statements. Opp. 5–6. But Sandoval addresses an entirely different issue, namely, whether expert

opinions based on an “amalgamation” of out-of-court testimonial statements violates the

Confrontation Clause. 6 F.4th at 87. It says nothing about the threshold admissibility of an expert

opinion under Rule 702, which requires that the opinion help the jury understand something beyond

its ken. As for that question, while the “inner workings of a criminal organization,” Sandoval, 6

F.4th at 87, can be esoteric, the “textual, audio, and video material posted by the Oath Keepers

online,” Dissertation at 77, are readily understandable by the jury.

       Finally, the government argues that it would not be unfairly prejudicial to have an expert

tell the jury that the Oath Keepers as an organization practice “antigovernment extremism” and

operate at “the edge of violence,” because references to the “tyrannical” nature of the federal

government are “replete throughout the statements by Vallejo and other co-conspirators…that are

likely to be introduced as evidence at trial.” Opp. 5. At the outset, this argument proves Mr.

Vallejo’s main objection to Dr. Jackson’s testimony: that it would simply tell the jury, using the

cloak of an expert, how to interpret statements by Mr. Vallejo and other co-defendants introduced

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at trial. If these statements indeed reflect anti-government extremism such that there would be no

unfair prejudice, the jury would not be helped by having an expert pile on his interpretation of

public Oath Keeper statements.

       But in any event, the government misconstrues the statements it cites for support of its

argument. Neither statement described Mr. Vallejo’s personal intent or belief about “the need for

the possibility of ‘armed conflict’ and ‘guerilla war’ against the government,” Opp. at 5, as the

government claims. In context, both described Mr. Vallejo’s perception of the public mood and

likely public reaction to the certification of the election. See ECF 102 at 11, 11 n.2 (explaining

context of Mr. Vallejo’s statements about the reaction of “the American people”). This is especially

evident in statements by Mr. Vallejo the next day, after the certification, in which Mr. Vallejo

describes the attackers of the Capitol as “domestic terroris[ts]” and expresses his intention to wait

and see what happens on January 20th. Id. at 16. At the very least, the proper interpretation of Mr.

Vallejo’s and his co-defendants’ statements is the province of the jury, and involves the

interpretation of ordinary English words in the context of the specific events of the case. It would

be unfairly prejudicial to allow the government to call an expert to offer his opinion about “Oath

Keeper ideology” based on unrelated Oath Keeper statements, especially statements that individual

defendants never heard.

                                         CONCLUSION

       For the foregoing reasons, Defendant Vallejo respectfully requests that the Court exclude

the proposed expert testimony of Dr. Jackson from his trial.




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August 19, 2022                          Respectfully submitted,

                                         /s/ Matthew J. Peed .
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